       CASE 0:20-cv-02074-NEB-BRT Doc. 15 Filed 10/20/20 Page 1 of 2


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


BRIAN MART, Individually and on
Behalf of All Others Similarly Situated,
                                                     Civ. No. 20-2074 (NEB/BRT)
                    Plaintiff,
                                                 ORDER EXTENDING TIME TO
vs.                                               RESPOND TO COMPLAINT

TACTILE SYSTEMS TECHNOLOGY,
INC., GERALD R. MATTYS, LYNN
BLAKE, and BRENT A. MOEN,

                    Defendants.



        Based upon the Stipulation Extending Time To Respond To Complaint (Doc.

 No. 12) filed by the parties, IT IS HEREBY ORDERED that:

        1.     Defendants are not required to respond to the pending Complaint,

 whether under Rule 12 of the Federal Rules of Civil Procedure or otherwise.

        2.     The operative pleading, and the due date for Defendants to respond to

 that pleading, will be set after the Court appoints a lead plaintiff and lead counsel.

        3.     After the appointment of a lead plaintiff and lead counsel, the parties

 shall confer in good faith about a schedule for pleading and motion practice and

 submit a stipulated proposed schedule to the Court.

        4.     The Court’s Order Setting Pretrial Conference entered on October 13,

 2020 (Doc. No. 11) is vacated.

        5.     The parties must file a joint status report by December 11, 2020.
     CASE 0:20-cv-02074-NEB-BRT Doc. 15 Filed 10/20/20 Page 2 of 2


Date: October 20, 2020.             s/ Becky R. Thorson
                                    BECKY R. THORSON
                                    U.S. Magistrate Judge
